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FLNB Local Form 5

Exhibit Tao/ Cover Sheet

Party submitting: _ Plaintiff Ex. #52

Admitted: Yes or No (circle one)

Debter: Julian Rodney Rooks Jr.

 

Case No.: 21-40139-KKS

 

 

 

Ady, No.:

Nature of Hearing/

Docket Ne:

Dated 07/22 »2021.

 

By: ,» Deputy Clerk

 
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January 22, 2009

-—— Onginal Message —--

From: "Gunther Prien" <ucsf4@vehoo.com>

To: registrar@stmatthews.edu

Sent “Mhursday; January 22-2009: 4:19:41 AM GMT -05:60 US/Canada Eastem
Subject: To Jennifer from Julian Rodney Rooks

Jennifer, Please acknowledge that you did recieve a total of 12 documents in 2 emails. Earfier ] said 11, but there
should be 12. Thank you. Rodney

-—-- Forwarded Message -——-

From: Jennifer Applequist <japplequist@stmatthews.edu>
To: Gunther Prien <ucsf4@yahco.com>

Sent: Thu, January 22;-2009'5:37:27 AM

Subject: Re: To Jennifer from Julian Rodney Rooks

Julan,

| have received your emails and will review your file to provide you with a list of missing items later today or
tomorrow,

Your patience is appreciated.

Frank you,
Jennifer

Jennifer Appiequist

Registrar

St. Matthew's University

12124 High Tech Avenue, Suite 350
Orlando, FL 32817

407 488-1700/800-498-9700 xf012
407 488-1743/800-565-7177 Fax

renistrar@stmatthews.edu
Case 21-04019-KKS Doc12-3 Filed 07/22/21 Page 3 of 7

January 27, 2009

1 Fiht (33K3)

 

Please find atiached 2 etter explaining the reason for your withdrawal from St Matthew's University.
Thank you,

Jennifer

Jennifer Applecist

St Matthew's University

12924 High Tech Avenue, Suite 350
Orlando, FL 32817

407 488-77 007800-498-9700 x1d12
407 488-17437800-565-7477 Fax
redistarstmatthews ade

-—. Original Message ——-

From: "Gunther Prien" <ucsf4@yahoo.com>

Jo: lennifer Applequist" <jappiequisk@simatinew:s edu>

Sent Tuesday, January 27, 2069 3:18:01 PM GMT -05:00 US/Canada Eastem
Subject Re: Requested Information

Dear Ms. Applequist,

Thank you for your efforts to determine the remaining information needed by SMU to

complete my file. As sated in your letter, there are 5 items outstanding, 1-4 are tests and #5 is a Trauma Elective
Evaluation from 05/06/02 fo 05/31/02. 1 have included, as attachments, my Trauma Elective Evaluation from the
above dates. This should complete request #5 leaving only the 4 exams,

Please send the information as to where, when and under what conditions the 4 fasts must be taken and i will
arrange for travel from California in order to complete my fila.

Thank you for your efforts.

Sincerely,

Julian Rodney Rooks

— On Tue, 1/27/09, Jennifer Appiequist <japplequist@stmatihews.edu> wrote:

From: Jennifer Appiequist <japplequish@stmatthews.edu>
Subject Requested Information

To: "Gunther Prien” <ucsi4@yahoo.com>

Date: Tuesday, January 27, 2008, 4:19 PM

Julian,

Please find attached a letter explaining the reason for your withdrawal fron
St. Matthew's University.

Thank you,

Jennifer

Jennifer Applequist

Registrar

St Matthew's University

12124 High Tech Avenue, Suite 350
Orlando, FL 32817

407 488-1700/800-498-9700 x1042
4G7 488-1743/800-565-7177 Fax

istar@stnatihews.edu
 

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St. Matthew’s University

 

 

 

January 27, 2009

Dear Mr. Rooks,

* Leste ihe

in reviewing your file, we have found that you are missing several items which prevent you from
graduating from St. Matthew's University. These items are:

OB/Gyn Shelf Exam

Pediatrics Shelf Exam

Psychiatry Shelf Exam

internal Medicine Shelf Exam

Trauma Elective Evaluation, rotation completed 5/06/02 — 5/31/02

SR Gt BD

5 Unfortunately as these items were not received and/or completed, you were placed in Withdrawn status
: on April 24, 2003.

Thank you,

  

ennifer Applequist
University Registrar

12124 High Tech Avenue, Suite 350; Orlando, FL 32817 » wewstmarthews.edu
1.407.977.8100 + 1.800.498.9700 « Fax 407.977.9269
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February 5, 2009

~~ Forwarded Message -——

From: Jennifer Applequist <japplequist@stmatthews.edu>
To: Gunther Prien <ucsf4@yahoo.com>

Sent Thu, February 5, 2009 5:55:28 AM

Subject: Re: Requested Information

Julian,

Thank you for your patience while | researched your question. Unfortunately you cannot fake the exams unless
you are enrolled with SMU. if you wish to return fo SMU to complete the requirements to graduate you will need to
apply for readmission through the Admissions office. if accepted, your first academic step will he to take a
qualifying exam that you will need to pass in order for SMU te allaw you ic take Step 1.

You will also need fo develop a plan to address your outstanding financial balance as you will not be able to enrolt
as a student until! that is cleared.

The Admissions office can be reached at 800-498-9700 or admissions@stmatthews.edu-”

“Thank you,
Jennifer

Jennifer Applequist

Registrar

St. Matthew's University

12124 High Tech Avenue, Suite 350
Orlando, FL 32817

407 488-1700/800-498-9760 x1042
407 488-1743/800-565-7177 Fax
(egistrar@stnatthews.ecdu

——— Forwarded Message —

From: Jennifer Applequist <jepplequish@stmatthews.edu>
To: ucsf4@yahoo.com

Sent: Thu, February.5, 2009 9:03:25 AM

Subject: Re: Requested Information

Juan,

Once you apply and if you are accepted, the Admissions office will nolify you of the requirements you will need to
compieie.

Thank you,
Jennifer

Jennifer Applequist

Registrar

St. Matthew's University

42124 High Tech Avenue, Suite 350
Orlando, FL 32817

407 488-1700/800-498-9700 x1012
407 488-1743/800-569-7177 Fax
feqistrar@stmatthews.edu
Case 21-04019-KKS Doc12-3 Filed 07/22/21 Page 6 of 7

February 5, 2009

---- Original Message -—-

From: "Gunther Prien" <ucsi4@yahoo.com>

To: “Jennifer Appiequist” <japplequisi@simatinews.edu>

Sent Thursday, February 5, 2009 10:47:45 AM GMT -05:00 US/Canada Eastern
Subject Re: Requested Information .

Dear Jennifer,
Thank you for your response,
if t understand correctly | must pay off my balance and reapply to SMU in order

to complete requirements for graduation. Gan you please:

1. fist exactly what the requirements for graduation would be?
2. will SMU readmitt me if | pay off my balance?

| would like io know what to expect as I form a pian.

Thank you,

Sincerely,

Julian Rooks

-—~- Original Message ——

From: “Gunther Prien" <ucsf4@yahoo.coem>

To: "Jennifer Appiequist" <japplequisi@stmatihews.edu>

Sent Thursday, February 5, 2009 12:05:51 PM GMT -05:00 US/Canada Eastem
Subject Re: Requested Information

Hello Jennifer,

Thank you for your response. | would be greatfull if you could list the portion of the academic curriculum SHU
considers to be outstanding, Le. what would be required for my

graduation (other than satisfying my balance). Thank you, Julian

— On Thu, 2/5/09, Jennifer Applequist <japolequisi@simatinews edu>

wrote:

From: Jennifer Anplequist <jappiequisi@stmatihews. edu>
Subject Re: Requested Information

To: "Gunther Prien” <ucsMi@yahoo.com>

Date: Thursday, February §, 2009, 1:55 PM

Julian,

Thank you for your patience while | researched your question. Unfortunately
you cannot take the exams unless you are enrolled with SMU. If you wish to
return to SMU to complete the requirements to graduate you will need to apply
for readmission through the Admissions office. If accepted, your first academic
step will be to take a qualifying exam that you will need fo pass in order for
Case 21-04019-KKS Doc12-3 Filed 07/22/21 Page 7 of 7

February 5, 2009

— On Thu, 2/5/09, Jennifer Applequist <japplequist@simaithews.edu>
wroie:

From: Jennifer Applequist <japolequisi@stmatthews.edu>
Subject Re: Requested Information

To: “Gunther Prien” <ucsf4@vahoo.com>

Date: Thursday, February 5, 2009, 1:65 PM

Julian,

Thank you for your patience while l researched your question. Unfortunately
you cannot take the exams unless you are enrolled with SMU. if you wish fo
retum to SIMU to complete the requirements to graduate you will need fo apply
for readmission through the Admissions office. If accepted, your first academic
step will be to take a qualifying exam that you will need to pass in order for
SMU to allow you to take Step 1.

You will also need to develop a plan to address your outstanding financial
balance as you will not be able to enroll as a student until that is cleared.

The Admissions office can be reached at 80... or
admissions@simatthews.edu.

Thank you,
Jennifer

Jennifer Applequist

Registrar

St. Matthew's University

12124 High Tech Avenue, Suite 350
Orlando, FL 32817

407 488-1700/800-498-9700 x1012
407 488-1743/800-565-7177 Fax

registrar@simatihews.edu
— On Thu, 2/5/09, Jennifer Applequist <jappleguist@simatthews.edu> wrote:

From: Jennifer Applequist <janplequist@stmatthews.edu>
Subject Re: Requested Information

To: ucstf4@yahoo.com
Date: Thursday, February 5, 2009, 4.43 PM

Julian,

it will be up the Admissions department to decide if you meet the requirements
for reacceptance to SMU. itis not guaranteed,

The aurent academic curriculum is fisted on our website at
hitp-/Awww.simatthews.edufmed_curriculum.shtml.

Tharik you,

Jennifer

Jennifer Applequist

Registrar

St. Matthew's University

12424 High Tech Avenue, Suite 350
Ondando, FL 32817

407 488-1700/800~498-9700 x1012
407 488-17 437800-568-7177 Fax

registrar@simatthews.edu
